     Case 2:21-cv-01219-JVS-PD Document 7 Filed 05/03/21 Page 1 of 2 Page ID #:32

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-01219JVS(PDx)                                          Date   May 3, 2021

 Title             Charles Forsyth v United States of America


 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present


 Proceedings:           [IN CHAMBERS] ORDER TO SHOW CAUSE RE
                        DISMISSAL FOR LACK OF PROSECUTION

        The Court, on its own motion, hereby ORDERS plaintiff(s) to Show Cause (OSC) in
writing no later than May 28, 2021, why this action should not be dismissed for lack of
prosecution. As an alternative to a written response by plaintiff(s), the Court will consider
the filing of one of the following, as an appropriate response to this OSC, on or before the
above date:

    X Proof of service of summons and complaint

       Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P. 4(m) The Court may dismiss the action prior to the expiration of
such time, however, if plaintiff(s) has/have not diligently prosecuted the action.

       Additionally, under 28 U.S.C. § 1391(e), where the defendant is an officer or
employee of the United States, an agency of the United States, or the United States itself,
an action may be brought in any judicial district in which:
       (A) a defendant in the action resides,
       (B) a substantial part of the events or omissions giving rise to the claim occurred, or
       a substantial part of property that is the subject of the action is situated, or
       (C) the plaintiff resides if no real property is involved in the action.
28 U.S.C. § 1391(e).


CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
     Case 2:21-cv-01219-JVS-PD Document 7 Filed 05/03/21 Page 2 of 2 Page ID #:33

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       CV 21-01219JVS(PDx)                                          Date     May 3, 2021

 Title          Charles Forsyth v United States of America

       Here, the events giving rise to Forsyth’s complaint took place in the Golden Gate
National Recreation Area, located within the Northern District of California. It is not
clear to the Court what basis exists for Forsyth’s claims to be brought in the instant venue,
the Central District of California. Therefore, Forsyth is also ordered to show cause by May
28, 2021, why this action should not be dismissed for improper venue.

       It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute
the action diligently, including filing proofs of service and stipulations extending time
under Rule 55 remedies promptly upon default of any defendant. All stipulations
affecting the progress of the case must be approved by the Court. Local Rule 7-1.

      Scheduling Conference set for May 10, 2021 at 10:30 a.m. is continued to June
28, 2021 at 10:30 a.m. Counsel shall file the Joint Rule 26 Meeting Report, with the
completed Exhibit A, by June 21, 2021.




                                                                                              :       0

                                                      Initials of Preparer      lmb




CV-90 (06/04)                         CIVIL MINUTES - GENERAL                                       Page 2 of 2
